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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

SNIK LLC,                                            §
                                                     §
                Plaintiff,                           §
                                                     §
v.                                                   §   CIVIL ACTION NO. 2:19-CV-00387-JRG
                                                     §
SAMSUNG ELECTRONICS CO., LTD.,                       §
SAMSUNG ELECTRONICS AMERICA,                         §
INC.,                                                §
                                                     §
                Defendants.                          §

                                               ORDER

        The Court issues this Order sua sponte. It is hereby ORDERED that Defendants’ Motion

to Strike Plaintiff’s Second Amended Infringement Contentions (Dkt. No. 84) is SET for an in-

person hearing Friday, March 12, 2021 at 3:00 p.m. (CT) in Marshall, Texas.
   .
        It is further ORDERED that Lead and local counsel for the parties shall meet and confer

in-person in an effort to resolve these disputes beginning at 9:00 a.m. (CT) on March 12, 2021

and continuing until the Court takes up these matters on their merits. Such in-person meet and

confer efforts shall take place within the Sam B. Hall, Jr. Federal Building and United States

Courthouse in Marshall, Texas. The Court may increase or decrease the meet and confer process

as the Court believes to be beneficial to the parties, the Court, and the interests of justice.

      So ORDERED and SIGNED this 25th day of February, 2021.




                                                              ____________________________________
                                                              RODNEY GILSTRAP
                                                              UNITED STATES DISTRICT JUDGE
